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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  WRESTLEREUNION, LLC,

         Plaintiff,
  v.                                                    Case No. 8:07-cv-2093-T27-MAP

  LIVE NATION TELEVISION                                JURY TRIAL DEMANDED
  HOLDINGS, INC.,

        Defendant.
  _____________________________/

                               PLAINTIFF’S MOTION IN LIMINE

         Plaintiff WrestleReunion, LLC moves the Court for an Order that the following

  information not be mentioned in the presence of the jury, elicited from witnesses or attempted to

  be offered in evidence:

         1.      Whether Rob Russen filed income tax returns. Mr. Russen is not an owner of

  WrestleReunion, LLC, and whether he filed income tax returns is not relevant to whether the

  parties entered into a contract, whether it was breached, and if so, the amount of damages

  sustained by Plaintiff. Wiggins v. Clementon Police Dept., 2009 WL 2382240, 5 (D.N.J.)

  (D.N.J. July 30, 2009)(“Defendant's alleged failure to report income on his tax returns for his

  work as a locksmith over the last 10 years is not relevant to whether Defendant violated

  Plaintiff's civil rights. Further, Defendant has not voluntarily injected issues regarding his income

  into the case.”). There has been no determination that Mr. Russen was even required to file

  income tax returns. Even if relevant, any comment, testimony or evidence on whether Mr.

  Russen filed income tax returns would be more prejudicial than probative.

         2.      Whether WrestleReunion, LLC issued a W-2 or 1099 to Rob Russen or comments
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  to the effect that Mr. Russen was paid “under the table” or in “cash.” This is also not relevant to

  whether the parties entered into a contract, whether it was breached, and if so, the amount of

  damages sustained by Plaintiff. This issue is not relevant, and if relevant, it would be more

  prejudicial than probative. Defendant claims that discussing these issues is necessary because of

  the Plaintiff’s claim for damages, but the fact of the issuance of a W-2 or 1099 is not relevant.

  Mr. Russen or Mr. Corrente can testify about payments made to Mr. Russen, but to suggest that a

  W-2 or 1099 was not prepared could lead to speculation of improper conduct.

         3.      Whether, after the dispute between the parties arose, Plaintiff made any settlement

  offers or Defendant offered to give the videotapes of WrestleReunion events to Plaintiff to

  market on its own; or whether Plaintiff declined such an offer. Defendant asked Mr. Corrente

  during deposition certain questions relating to offers to compromise. Under Fed.R.Evid. 408,

  compromise and offers to compromise are not admissible. Settlement discussions are not

  relevant, and if relevant, would be more prejudicial than probative. During the conference on

  this motion, Defendant contended that while Plaintiff is not permitted to offer evidence of

  settlement discussions, Defendant is free to do so. Yet, Fed.R.Evid. 408 prohibits “any party”

  from offering information to prove the “invalidity of . . . a claim,” which is exactly the reason

  Defendant suggested it intended to offer the information. Defendant argued it was proof that

  Plaintiff did not mitigate its damages.

         4.      The Court’s rulings on pretrial motions or the pleadings. Defendant has listed as

  an exhibit the Plaintiff’s amended complaint. The pleadings are merged in the pretrial statement,

  and therefore, the pleadings or resolutions of pleadings occurring before the pretrial statement are

  not relevant, and if relevant, would be more prejudicial than probative. Thus, questions related


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  to whether Plaintiff filed claims for fraud, violation of the Florida Deceptive and Unfair Trades

  Practices Act or whether Mr. Corrente believed it had been defrauded are inappropriate.

         5.      E-mails or documents bearing the name of Plaintiff’s counsel. For example, in

  the pretrial statement, Defendant listed as exhibit 104, “AA0111 - AA0112 - Email from

  Anthony Attanasio to Ryan Rodems dated 1/5/09 at 9:28 p.m.” In responding to a subpoena, Mr.

  Attanasio forwarded e-mails to “Ryan C. Rodems.” What Mr. Attanasio forwarded was actually

  an e-mail from “RobLRussen@aol.com” to various people on May 18, 2008. The information as

  to when the e-mail was forwarded to “Ryan C. Rodems” is irrelevant and may cause confusion.

  All similar exhibits should have forwarding information redacted to avoid confusion. Defendant

  agreed to redact this information, but Defendant has not shown Plaintiff its exhibits as of this

  date, and Plaintiff seeks to make it clear that it is not waiving its right to demand redaction.

         6.      Opinions regarding the credibility of Colin Bowman, Sal Corrente or Rob Russen.

  Defendant’s experts have issued reports containing comments on these witnesses’ credibility.

  U.S. v. Beasley, 72 F.3d 1518, 1528 (11th Cir. 1996)(“Absent unusual circumstances, expert

  medical testimony concerning the truthfulness or credibility of a witness is inadmissible. Expert

  medical testimony concerning the truthfulness or credibility of a witness is generally

  inadmissible because it invades the jury's province to make credibility determinations.”).1


         1
            See also United States v. Binder, 739 F.2d 595, 602 (9th Cir. 1985)(holding that expert
  witness testimony was impermissible when it “in effect . . . impermissibly . . . asks [the jury] to
  accept the expert's determination that these particular witnesses were truthful”), overruled on
  other grounds, United States v. Morales, 108 F.3d 1031 (9th Cir. 1997); United States v. Barnard,
  490 F.2d 907, 1912-13 (9th Cir. 1973) (trial court properly excluded psychiatric and
  psychological testimony as to credibility of co-defendant); U.S. v. Awakard, 597 F.2d 67, 670
  (9th Cir. 1979)(“[U]nder Federal Rule of Evidence 608A, that rules strictly limits opinion
  evidence on witness credibility to ‘character or truthfulness or untruthfulness.’”); Caban v. State,
  9 So.3d 50, 53 (Fla. 5th DCA 2009)(“An expert may properly explain his opinion on an issue in

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  Defendant has expressed an intent to offer Mr. Bischoff’s testimony that Mr. Bowman’s

  testimony as to his experience at WCW was not truthful.

         7.      Hearsay testimony by Defendant’s experts. While the Court was clear that

  motions in limine on hearsay are not necessary, during the conference on this motion, Defendant

  revealed a plan to offer hearsay and refused to acknowledge it was not permitted. Defendant

  stated that Mr. Bischoff will testify that he spoke to another person, Jim Ross, about Mr.

  Bowman’s experience with the WCW, and that Mr. Bischoff will testify as to those out of court

  statements made by Jim Ross as evidence that Mr. Bowman’s testimony is not believable.

  Apparently, Defendant believes that because Fed.R.Evid. 703 allows an expert to base an opinion

  on inadmissible information, Mr. Bischoff’s status as an expert permits Defendant to use him as

  a conduit to admit any information even if not related to his opinion. That is simply not correct.

  U.S. v. Dukagjini, 326 F.3d 45, 58 (2d Cir. 2003)(“[W]e hold that an expert witness may rely on

  hearsay evidence while reliably applying expertise to that hearsay evidence, but may not rely on

  hearsay for any other aspect of his testimony. Such improper reliance violates Rule 703, the

  hearsay rule, and the Confrontation Clause.”); Garay v. Missouri Pacific R. Co., 65 F.Supp.2d

  1202, 1206 (D.Kan.1999)(“Rule 703 merely allows an expert to formulate and explain the basis

  of his opinion; it does not authorize a party to prove the truth of hearsay declarations by having


  controversy by outlining the claimed deficiencies in the opposing expert's methodology, so long
  as the expert does not attack the opposing expert's ability, credibility, reputation or
  competence.”); Mathis v. O'Reilly, 400 So.2d 795, 796 (Fla. 5th DCA 1981), rev. denied, 412
  So.2d 468 (Fla.1982)(same); Carver v. Orange County, 444 So.2d 452, 454 (Fla. 5th DCA
  1983)(improper for a trial court to allow an expert witness to impeach credibility of an opposing
  expert by testifying as to his opinion of the opposing expert's ability); Ecker v. National Roofing
  of Miami, Inc., 201 So.2d 586, 588 (Fla. 3d DCA 1967)("[P]roper sense of professional delicacy
  precludes [experts] from giving evidence as to the merits of each other."); Network Publications,
  Inc. v. Bjorkman, 756 So.2d 1028, 1030 (Fla. 5th DCA 2000)(same).

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  an expert echo the deposition testimony of individuals who witnessed the underlying events.”).

         In addition to the above-referenced matters, Plaintiff raises the following issues for ruling

  by the Court:

         8.       Ensuring the witnesses are advised of the Court’s rulings. During the conference

  on this motion, Defendant’s counsel suggested that he could not be certain of Mr. Bischoff’s

  compliance with certain agreements including that Mr. Bischoff would not comment on

  witnesses’ credibility. Defendant’s counsel made statements to the effect that Mr. Bischoff was

  strong willed. This became clear from some of Mr. Bischoff’s testimony:

         Q.       I guess, really, what it comes down to is whether we are going to have a problem
                  with you giving me the source of your information or not. If you are going to say
                  to me, in response to every question, "There's my stack of documents, find my
                  answer," that's not possible because I can't plug into what you were thinking when
                  you made certain statements. That's going to be --

         A.       You can ask me a question. If the attorney, the attorney, tells you that the
                  documents have been provided, then they have been provided. I don't have access
                  to them, sitting here in front of me. If you don't want to look through the
                  documents that have been supplied to you, call the fuckin' judge.

  (Exhibit “1”, excerpt of Bischoff deposition, 183:14-184:3).

         Q.       Was there a point in 1987 where you and Mr. Russen got into a dispute because
                  you were intercepting his telephone messages?

         A.       No.

         Q.       That didn't happen?

         A.       I think Mr. Russen is a liar if he testified to that.

         Q.       Okay. You don't like Mr. Russen?

         A.       I think Mr. Russen is a liar and a thief. . . . I think everybody that lies is a thief.

  (Exhibit “1”, excerpt of Bischoff deposition, 266:5-267:4). Plaintiff requests as part of the Order


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  that the respective counsel be charged with making the witnesses aware of the Court’s rulings on

  motions in limine.

         9.        Whether impeachment of Mr. Bischoff with his testimony in U.S. v. Kaplan, Case

  No. 1:99-CR-609, United States District Court, Northern District of Georgia shall be permitted.

  Mr. Bischoff’s qualifications as an expert includes his experience as head of WCW (World

  Championship Wrestling), owned by Turner Broadcasting System, Inc. in the 1990s. Plaintiff is

  prepared to call two witnesses that can testify to several incidents when, due to Mr. Bischoff’s

  alcohol intoxication, he could not remember making business decisions for WCW. During his

  deposition, however, Mr. Bischoff denied ever drinking too much and blacking out while he was

  the head of WCW. Yet, in the U.S. v. Kaplan case, Mr. Bischoff testified to the following which

  occurred on March 21, 1999, while he was still head of WCW2:

         Q.        NOW, I WANT TO DIRECT YOUR ATTENTION TO A PARTICULAR VISIT
                   ON MARCH 21ST, 1999. DO YOU RECALL BEING IN THE CLUB AT OR
                   AROUND THAT DATE?
         A.        YES.

                                             *        *   *

         Q.        DID YOU HAVE ANYTHING TO DRINK THAT NIGHT?

         A.        YES.

         Q.        ABOUT APPROXIMATELY HOW MANY DRINKS HAD YOU HAD THAT
                   NIGHT?

         A.        THREE OR FOUR BEERS PERHAPS BEFORE WE LEFT, AND ANYWHERE
                   FROM TEN TO 16 ONCE I GOT THERE.

         Q.        AND WHEN YOU SAY BEFORE YOU LEFT, YOU'RE TALKING ABOUT
                   BEFORE YOU LEFT FOR THE CLUB?


         2
              The actual transcript is in all CAPS.

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       A.    CORRECT.

                                 *     *     *

       Q.    AND DOES THERE COME A TIME WHEN YOU HAVE A DISCUSSION
             WITH FREDERIQUE ABOUT LEAVING THE CLUB WITH YOU?

       A.    YES.

       Q.    PLEASE TELL THE JURY ABOUT THAT DISCUSSION.

       A.    IT'S SOMEWHAT VAGUE. IT HAPPENED LATER IN THE EVENING AND
             I DON'T RECALL THE SPECIFIC LANGUAGE, BUT THERE WAS A LOT
             OF INNUENDO AND SUGGESTION ABOUT PERHAPS LEAVING THE
             CLUB, CONTINUING THE PARTY SOMEWHERE OUTSIDE OF THE
             CLUB, SOMETHING ALONG THOSE LINES.

       Q.    AND APPROXIMATELY WHAT TIME ARE WE TALKING ABOUT THAT
             THAT HAPPENS, JUST APPROXIMATELY?

       A.    11:30, PERHAPS 12:00, I'M NOT REALLY SURE.

       Q.    DOES THERE COME A TIME WHERE YOU ACTUALLY THEN DO LEAVE
             THE CLUB WITH FREDERIQUE?

       A.    YES.

       Q.    AND WHO IS WITH YOU?

       A.    MY WIFE.

       Q.    AND HOW DO YOU LEAVE THE CLUB?

       A.    IN OUR CAR.

       Q.    AND PRIOR TO LEAVING THE CLUB DO YOU HAVE ANY KIND OF
             DISCUSSION WITH MR. KAPLAN ABOUT THE FACT YOU'RE TAKING
             ONE OF THE DANCERS WITH YOU?

       A.    I HAVE A VAGUE RECOLLECTION OF IT. I THINK I WANTED TO
             CONFIRM WITH HIM THAT IF SHE, INDEED, LEFT, THAT SHE WASN'T
             GOING TO BE FIRED OR RECEIVE SOME PENALTY FOR LEAVING.



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       Q.    AND DID YOU GET THAT CONFIRMATION FROM HIM THAT THAT
             WAS THE CASE, THAT THERE WOULDN'T BE A PENALTY?

       A.    I ASSUMED IT WAS. IT WAS -- IT WAS A RESPONSE THAT WAS IN THE
             AFFIRMATIVE, BUT I DON'T RECALL EXACTLY WHAT HE SAID.

       Q.    AND WHEN YOU SAY "THE AFFIRMATIVE," THAT IT WAS OKAY TO
             LEAVE?

       A.    YES.

       Q.    AND SO THEN YOU DO LEAVE WITH FREDERIQUE?

       A.    YES.

       Q.    AND WHERE DO THE THREE OF YOU GO AFTER YOU LEAVE THE
             GOLD CLUB?

       A.    TO A HOTEL.

       Q.    DO YOU RECALL THE HOTEL?

       A.    NO, I DON'T.

       Q.    AND SO IT'S STILL THE THREE OF YOU AT THE HOTEL?

       A.    YES.

       Q.    AND DID YOU GET A ROOM AT THE HOTEL?

       A.    YES.

       Q.    AND WHEN YOU GOT INTO THE ROOM, WAS THERE ANY SEXUAL
             ACTIVITY THAT OCCURRED?

       A.    YES.

       Q.    AND WHO WAS THE SEXUAL ACTIVITY BETWEEN?

       A.    THAT IS A BIT OF A BLUR. BY THAT TIME IN THE EVENING, I MEAN I
             DON'T EVEN REMEMBER DRIVING TO THE HOTEL, SO AT THAT POINT
             IT WAS A BIT OF A BLUR.



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  (Exhibit “2”, Transcript of Proceedings Before the Honorable Willis B. Hunt, Jr., United States

  District Judge, U.S. v. Kaplan, Case No. 1:99-CR-609, Testimony of Eric Bischoff, 9197:16-

  9200:15).

          A witness’s credibility can be attacked by showing the capacity to observe was impaired.

  U.S. v. Lindstrom, 698 F.2d 1154, 1162 (11th Cir. 1983)(citing Weinstein's Evidence ¶ 607[4]

  (1981) for the rule that “[t]he credibility of a witness can always be attacked by showing that his

  capacity to observe, remember or narrate is impaired. Consequently, the witness' capacity at the

  time of the event, as well as at the time of trial, are significant.”).

          The importance of credibility of witnesses to the trial of cases cannot be overstated, and
          this is especially true with respect to expert witnesses. The rules of evidence provide
          frequent reminders of the importance of credibility issues in trials. Rule 611(b) defines
          the scope of cross-examination to include the subject matter of testimony developed
          during direct examination, as well as matters affecting the credibility of the witness. . . .

          The final method of impeachment recognized at common law, but not expressly adopted
          by the Federal Rules of Evidence, is impeachment by demonstrating a defect in a witness'
          ability to perceive, remember or communicate. In this regard, “[a] witness' credibility
          may always be attacked by showing that his or her capacity to observe, remember or
          narrate is impaired... at the time of the event, as well as at the time of trial.” Weinstein
          Treatise, at § 607.05[1]; Wright and Gold Treatise, at § 6097; Graham Treatise, at §
          607.4 (“The capacity and actuality of a witness' perception, his ability to record and
          remember sense impressions, and his ability to comprehend questions and narrate are
          relevant to an assessment of the weight to be given a witness' testimony.”); Mueller and
          Kirkpatrick Treatise, at § 6.35 (“Limits or defects in sensory or mental capabilities bear
          both on the likelihood that a witness accurately perceived the events or occurrences he
          describes and the accuracy or completeness of his testimony.”); McCormick Treatise, at §
          49. This form of impeachment usually is accomplished through examination of the
          witness, but, since defects in a witness' capacity are not considered collateral, they may be
          proven by extrinsic evidence as well.

  Behler v. Hanlon, 199 F.R.D. 553, 557-58 (D.Md. 2001).

          While impeaching a witness’s ability to remember events is appropriate, and impeaching

  by prior inconsistent statements is also appropriate, the sordid and salacious details attenuating


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  Mr. Bischoff’s contradictory testimony in the U.S. v. Kaplan case are inseparable. Thus, Plaintiff

  requests guidance from the Court on this issue.

         WHEREFORE, Plaintiff moves this Court for an Order that the aforementioned issues

  identified in paragraphs 1-7 not be mentioned in the jury’s presence, or through the offering of

  evidence or eliciting of testimony, directing counsel to advise their witnesses of the Court’s

  rulings, and offering guidance on the issues raised in paragraph 9.

         DATED this 21st day of August, 2009.


                                                s/ Ryan Christopher Rodems
                                                RYAN CHRISTOPHER RODEMS, ESQUIRE
                                                Florida Bar No. 947652
                                                Trial Counsel for Plaintiff
                                                BARKER, RODEMS & COOK, P.A.
                                                400 North Ashley Drive, Suite 2100
                                                Tampa, Florida 33602
                                                Telephone: (813) 489-1001
                                                Fax: (813) 489-1008
                                                E-mail: rodems@barkerrodemsandcook.com

        CERTIFICATION OF EFFORT TO RESOLVE WITHOUT COURT ACTION

         Before filing the instant motion, I certify that I spoke to opposing counsel, and the motion

  details the agreements and disagreements, and despite the conference, the issues require

  resolution by the Court.

                                                s/ Ryan Christopher Rodems
                                                RYAN CHRISTOPHER RODEMS, ESQUIRE


                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 21, 2009, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system, which will send a copy by electronic mail to


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  Gregory W. Herbert, Esquire, Greenberg Traurig, P.A., 450 S. Orange Ave., 6th Floor, Orlando,

  FL 32801, HERBERTG@gtlaw.com, Attorneys for Defendant.

                                             s/ Ryan Christopher Rodems
                                             RYAN CHRISTOPHER RODEMS, ESQUIRE




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